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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA

v.                               Case No. 4:14-cr-00080-05 KGB

SCOTT LOWSON BESS

                AMENDMENT TO CLARIFY JUDGMENT AND COMMITMENT

        The Court, pursuant to Rule 35(a) of the Federal Rules of Criminal Procedure, hereby

amends to clarify the Judgment and Commitment in this matter. At the sentencing hearing

conducted in this matter on June 23, 2015, the Court imposed a sentence of imprisonment of 35

months.

        The Court acknowledged on the record with counsel that, as reflected on page one of the

Presentence Investigation Report, defendant Scott Lowson Bess was arrested by state authorities

on related charges on January 13, 2014, and was detained. All counsel agreed that Mr. Bess was

released on personal recognizance with pretrial supervision on January 29, 2015. Mr. Bess was

detained following his change of plea in this matter on March 17, 2015. These facts are recited

on page one of the Presentence Investigation Report, which the Court adopted as its findings of

fact in this case. All counsel agreed that the state charges resulted from an offense involving

Oxycodone pills and occurred during the federal drug conspiracy to which Mr. Bess plead guilty

in this case.

        It was, and is, the Court’s intent that Mr. Bess receive credit toward his federal sentence

for the time served in state custody on related charges, as reflected on page one of the

Presentence Investigation Report. At the time of sentencing on June 23, 2015, the Court’s

understanding was that, by virtue of the way this information was recited on page one of the

Presentence Investigation Report, the Federal Bureau of Prisons would give credit towards Mr.
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Bess’s federal sentence for the time served in state custody on related charges and that the

Court’s sentence did not need to specify this because the Federal Bureau of Prisons would credit

that time.

       If the Court’s understanding of what the Federal Bureau of Prisons will do with Mr.

Bess’s time served in state custody on related charges is incorrect, the Court desires that its intent

in regard to his sentence be effectuated. United States Sentencing Guideline § 5K2.23 titled

Discharged Terms of Imprisonment states that a downward departure may be appropriate if the

defendant has completed serving a term of imprisonment and subsection (b) of § 5G1.3

(Imposition of a Sentence on a Defendant Subject to Undischarged Term of Imprisonment or

Anticipated State Term of Imprisonment) would have provided an adjustment had that completed

term of imprisonment been undischarged at the time of sentencing for the instant offense.

       Subsection (b)(1) of § 5G1.3 states that the Court shall adjust the sentence for any period

of imprisonment already served on the undischarged term of imprisonment if the Court

determines that such period of imprisonment will not be credited to the federal sentence by the

Bureau of Prisons. Here, the Court’s understanding is that the Federal Bureau of Prisons will

credit that time. Otherwise, the Court would have concluded that subsection (b) of § 5G1.3

applies to the facts of Mr. Bess’s case through application of § 5K2.23, and the Court would

have adjusted Mr. Bess’s sentence accordingly.

       To ensure the sentence announced by the Court is imposed to comport with the Court’s

intent at sentencing, the Court amends to clarify the Judgment and Commitment and modifies

Mr. Bess’s sentence to a term of 35 months imprisonment in the Bureau of Prisons, with Mr.

Bess receiving credit toward his federal sentence for the time served in state custody on related

charges as reflected on page one of the Presentence Investigation Report. This modification is

intended to ensure Mr. Bess receives the sentence the Court pronounced in open Court. All other
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aspects of the sentence imposed by this Court remain in effect.

       Should it be necessary, this Court determines that it would exercise its discretion to grant

a variance under 18 U.S.C. § 3553(a) based on the facts and circumstances of this case to impose

a sentence of 35 months imprisonment in the Bureau of Prisons, with Mr. Bess receiving credit

toward his federal sentence for the time served in state custody on related charges as reflected on

page one of the Presentence Investigation Report.

       SO ORDERED this 26th day of June, 2015.




                                                 HONORABLE KRISTINE G. BAKER
                                                 UNITED STATES DISTRICT JUDGE




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